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10
11
                               UNITED STATES DISTRICT COURT
12
                CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
13
14   LDR INTERNATIONAL LIMITED, a                    )   Case No. 8:23−cv−00257−DOC (JDEx)
15   British Virgin Island corporation;              )
                                                     )   STIPULATION TO EXTEND TIME TO
16                Plaintiff,                         )   RESPOND TO INITIAL COMPLAINT BY
                                                     )   NOT MORE THAN 30 DAYS (L.R. 8-3)
17         v.                                        )
                                                     )   Complaint served: 2/21/23 and 2/25/23
18   SARA JACQUELINE KING, an                        )   Current response date: 3/14/23 and 3/20/23
     individual, and KING FAMILY                     )   New response date: 3/28/23
19   LENDING LLC, a California limited               )
     liability company;                              )
20                                                   )
                  Defendants.                        )
21                                                   )
                                                     )
22                                                   )

23
24         Pursuant to the United States District, Court Central District of California, Local

25   Rule 8-3, Plaintiff LDR International Ltd. (“Plaintiff”) and Defendants Sara Jacqueline

26   King and King Family Lending LLC (collectively, “Defendants”) hereby stipulate to

27   extend the time within which Defendants shall answer the Complaint filed in this action.

28         WHEREAS, the Complaint was filed in this action on February 11, 2023.


           STIP. TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3)
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 1         WHEREAS, defendant Sara Jacqueline King was served with process, via
 2   substitute service, on February 15, 2023, and service was deemed complete on February
 3   25, 2023.
 4         WHEREAS, defendant Sara Jacqueline King’s response to the Complaint is due
 5   no later than March 20, 2023.
 6         WHEREAS, defendant King Family Lending was served with process, via
 7   personal service, on February 21, 2023.
 8         WHEREAS, defendant King Family Lending’s response to the Complaint is due
 9   no later than March 14, 2023.
10         WHEREAS, no prior extensions of time for Defendants to respond to the
11   Complaint have been given.
12         Now, therefore, it is stipulated and agreed by and between Plaintiff and
13   Defendants as follows:
14         Defendants’ time to file an answer in response to the Complaint shall be extended
15   to and including March 28, 2023.
16         SO STIPULATED.
17
     DATED: March 8, 2023                         LAW OFFICES OF RONALD RICHARDS &
18                                                ASSOCIATES, A.P.C.
19
20                                                By:    / s / Ronald N. Richards, Esq.
                                                        Ronald N. Richards
21                                                Attorneys for Plaintiff LDR
                                                  INTERNATIONAL LIMITED
22
23   DATED: March 8, 2023                         KING REUBEN, P.C.
24
                                                  By:    / s / Sara J. King, Esq.
25                                                      Sara J. King
                                                  Attorneys for Defendants SARA
26                                                JACQUELINE KING and KING FAMILY
                                                  LENDING LLC
27
28

                                                      2
           STIP. TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3)
